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16
                   IN THE UNITED STATES DISTRICT COURT
17
                            DISTRICT OF NEVADA
18
     NOEL C. MURRAY and DR. SWARNA Case No.:
19
     PERERA, on behalf of themselves and
20   all others similarly situated,      CLASS ACTION COMPLAINT
21
                                         (Counsel will comply with
                   Plaintiffs,           LR IA 11-2 within 45 days)
22

23                            vs.              JURY TRIAL DEMANDED
24
     PROVIDENT TRUST GROUP, LLC,
25   and ASCENSUS, LLC,
26
                Defendants.
27

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 1

 2                                     CLASS ACTION COMPLAINT
 3
              Plaintiffs Noel C. Murray and Dr. Swarna Perera (“Plaintiffs”), by and
 4
     through their undersigned counsel, as and for their Class Action Complaint against
 5

 6   Defendants Provident Trust Group, LLC (“Provident” or “PTG”) and Ascensus,
 7
     LLC (“Ascensus”), allege as follows based upon personal knowledge as to
 8

 9   Plaintiffs and Plaintiffs’ own acts, and upon information and belief1 as to all other
10
     allegations:
11
                                         NATURE OF THE ACTION
12

13            1.       This is a class action brought under Fed. R. Civ. P. 23(a) and (b)(3)
14
     for breach of Defendants’ contractual and fiduciary duties as trustee and custodian
15

16   of Plaintiffs’ respective retirement accounts, gross negligence, unjust enrichment,
17
     and restitution.
18
              2.       Plaintiffs are investors in Individual Retirement Accounts (IRAs) for
19

20   which Provident acted as legal custodian. In order to provide for and enhance the
21
     security of retirement income in the United States, a federal law imposes trustee
22

23   status and minimum federal fiduciary standards of conduct on providers of certain
24

25

26   1. Allegations on information and belief are based upon the investigation by Plaintiffs’ counsel, including a review
     of publicly available regulatory proceedings and related filings made by the Securities and Exchange Commission
27   (“SEC” or the “Commission”), court papers, news articles, media reports, and other publicly-available information.
28                                             CLASS ACTION COMPLAINT
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 1   retirement-related services. See, e.g., Employee Retirement Income Security Act of
 2
     1974 (“ERISA”), 29 U.S.C. §§ 1104, 1021-1031; Internal Revenue Code (“Code”),
 3

 4   26 U.S.C. 408; Treasury Regulation (“Treas. Reg.”) 1.408-2, 26 C.F.R.,
 5
     promulgated pursuant to Code §§ 401 and 408. Among the minimum federal
 6

 7
     fiduciary standards of conduct are those for persons providing services for

 8   federally-created IRAs, which include trustees and directed custodians such as
 9
     PTG.
10

11          3.     Pursuant to federal law and in order to ensure the security of the
12
     retirement income from such property, each Plaintiff and Class Member entered
13

14
     into, as federal law requires, a trust with Defendants over the property transferred

15   to the Defendants. In order to secure the retirement income from the trust, federal
16
     law requires Defendants to act as trustees in a fiduciary relationship with each
17

18   Plaintiff and Class Member. These duties are applicable to Self-Directed IRAs
19
     (“SDIRAs”), a type of IRA account in which non-conventional investments are
20

21
     often held.

22          4.     Pursuant to federal law, Defendants were obligated to comply with the
23
     following minimum standards and owed the following duties to preserve the Trust
24

25   res of each Plaintiff and Class Member:
26

27

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 1         (i)     The fiduciary duty to acquire and hold particular investments
 2
                   specified by the trust instrument. Treas. Reg. 1.408-2(e)(viii)(6)(i)(A).
 3

 4         (ii)    The fiduciary duty to keep custody of investments and, except for
 5
                   investments pooled in a common investment fund in accordance with
 6

 7
                   the provisions of the Treasury Regulations, to refrain from

 8                 commingling the investments of each account with any other property.
 9
                   Treas. Reg. 1.408-2(e)(v)(A).
10

11         (iii)   The fiduciary duty to deposit assets of accounts requiring safekeeping
12
                   in an adequate vault. Treas. Reg. 1.408-2(e)(v)(B).
13

14
           (iv)    The fiduciary duty to determine the assets held by it in trust and the

15                 value of such assets at least once in each calendar year and no more
16
                   than 18 months after the preceding valuation. Treas. Reg. 1.408-
17

18                 2(e)(5)(ii)(E).
19
           (v)     The fiduciary duty to receive, issue receipts for, and safely keep
20

21
                   securities. Treas. Reg. 1.408-2(e)(4)(ii)(A).

22         5.      In addition to Treas. Reg. 1.408-2(e)(5)(ii)(E) and its guidance
23
     concerning valuation of assets, Defendants also entered into standardized form
24

25   contracts with Plaintiffs and the Class, under which Defendants acknowledged
26
     their obligation as custodian to timely report asset valuation to the IRS: “Each year
27

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 1   (and when you take IRA distributions) we are required to report the fair market
 2
     value (“FMV”) of the assets within your IRA to the IRS.” See Exh. 1, p. 7, Section
 3

 4   8.16 – Valuations Policy.
 5
           6.     Working closely with representatives of a securities issuer known as
 6

 7
     Woodbridge (as further defined below), Defendants took custody of unregistered

 8   securities that were not exempt from registration in IRAs that it maintained for
 9
     hundreds of customers, many or most of whom were referred by Woodbridge’s
10

11   personnel and/or sales agents. In certain instances, at the behest of Woodbridge,
12
     Defendants accepted transfer of substantial sums of money directly from other IRA
13

14
     custodians who refused to hold Woodbridge securities in IRAs for which they

15   served as custodians. In certain instances, Defendants allowed brokers or
16
     unlicensed sales agents for Woodbridge to pay for Defendants’ custodian fees
17

18   directly- a prohibited transaction under IRS regulations. See IRS Publication 590-
19
     A.
20

21
           7.     On information and belief, Defendants took few or no steps to

22   ascertain the nature, assets underlying, or value of Woodbridge securities that they
23
     held as custodian, despite their legal duty to determine the assets held by Provident
24

25   in trust and the value of such assets at least once in each calendar year and no more
26
     than 18 months after the preceding valuation. Treas. Reg. 1.408-2(e)(5)(ii)(E). The
27

28                                 CLASS ACTION COMPLAINT
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 1   purported third-party borrowers for most of the promissory notes sold by
 2
     Woodbridge were in actuality LLCs controlled by Woodbridge principal Robert H.
 3

 4   Shapiro (“Shapiro”)- a fact that Defendants apparently failed to discover despite
 5
     Woodbridge’s almost complete lack of any bona fide third-party borrowers and
 6

 7
     nearly universal extension of “loans” to shell companies with no revenues and no

 8   bank accounts. Defendants also apparently failed to discover that nearly all of the
 9
     purported third-party borrowers never paid any interest whatsoever on the so-
10

11   called “loans” underlying the promissory notes.
12
           8.     Further, Defendants continued to accept Woodbridge securities as
13

14
     custodian from numerous customers steered to Provident by Woodbridge and its

15   agents, even after regulatory actions by state and federal regulators that
16
     unanimously concluded that Woodbridge was unlawfully offering unregistered
17

18   securities that were not within any exemption from registration to the general
19
     public. Woodbridge continued to work hand in glove with Provident as though
20

21
     nothing was amiss, despite the following state and federal charges against

22   Woodbridge:
23
           Massachusetts: In a May 2015 Massachusetts Consent Order, Woodbridge
24

25   and its affiliate entities were directed to “[p]ermanently cease and desist from
26

27

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 1   selling unregistered or non-exempt securities in the Commonwealth of
 2
     Massachusetts.”
 3

 4         Texas: On July 17, 2015, the Texas State Securities Board issued an
 5
     Emergency Cease and Desist Order against Woodbridge entities and others,
 6

 7
     making factual findings that “Respondent Woodbridge, [and its principal]

 8   Shapiro… are offering for sale investments in Respondent Woodbridge’s First
 9
     Position Commercial Mortgage Note Program…[that] have not been registered by
10

11   qualification, notification or coordination, and no permit has been granted for their
12
     sale in Texas.” On March 18, 2016, Woodbridge (through its Woodbridge
13

14
     Mortgage Investment Fund 3) and Robert Shapiro consented to an order by the

15   Texas State Securities Board concluding that Woodbridge and Shapiro violated
16
     the Texas Securities Act by offering unregistered securities.
17

18         Arizona: On October 4, 2016, the Securities Division of the Arizona
19
     Corporation Commission issued a Temporary Cease and Desist Order against
20

21
     Woodbridge, alleging violations in connection with failure to properly register

22   securities (or, in the alternative, claim a valid exemption), and also alleged
23
     securities fraud in connection with the offer or sale of securities in violation of the
24

25   Arizona Securities Act.
26

27

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 1         Pennsylvania: On April 24, 2017, the Commonwealth of Pennsylvania
 2
     Bureau of Securities Compliance and Examinations entered into a Consent
 3

 4   Agreement and Order and made findings that Woodbridge had operated in
 5
     violation of the Pennsylvania Securities Act of 1972 by virtue of its attempt to
 6

 7
     “[e]ffect purchases or sales of securities issued by Woodbridge” where the

 8   individual selling these investment products was neither registered pursuant to
 9
     Pennsylvania securities laws, nor exempt from registration.
10

11          Michigan: On August 8, 2017, the State of Michigan Securities Bureau
12
     issued a Cease and Desist Order as against Woodbridge affiliate Woodbridge
13

14
     Mortgage Investment Fund 2, LLC, and made findings that Woodbridge “[o]ffered

15   and sold [FPCMs] in Michigan that fell within the definition of ‘security’;
16
     approximately 230 investors invested more than $14,000,000.00 with Respondent
17

18   and its affiliated companies. The [FPCMs] were not federally covered, exempt
19
     from registration, or registered.”
20

21
           SEC: On July 17, 2017, the SEC brought an enforcement action against

22   Woodbridge in federal court in the Southern District of Florida to enforce a
23
     subpoena directed to Woodbridge. On December 20, 2017, the Commission filed a
24

25   Complaint for Injunctive and Other Relief alleging as follows:
26
           “Beginning in July 2012 through December 4, 2017, Defendant
27         [Robert Shapiro] used his web of more than 275 Limited Liability
28                                  CLASS ACTION COMPLAINT
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 1            Companies to conduct a massive Ponzi scheme raising more than
 2            $1.22 billion from over 8,400 unsuspecting investors nationwide
              through fraudulent unregistered securities offerings. Despite
 3
              receiving over one billion in investor funds, Shapiro and his
 4            companies only generated approximately $13.7 million in interest
              income from truly unaffiliated third-party borrowers. Without real
 5
              revenue to pay the monies due to investors, Shapiro resorted to fraud,
 6            using new investor money to pay the returns owed to existing
 7
              investors.” (emphasis added).

 8            9.       Despite these publicly-announced state and federal charges, which
 9
     uniformly alleged and/or concluded that Woodbridge was engaged in the unlawful
10

11   sale of unregistered securities, on information and belief Provident took no steps to
12
     inform persons for whom Provident acted as custodian of any issues with
13

14
     Woodbridge, and continued to render statements showing Woodbridge investments

15   at full value. Provident also made itself available to take custody of Woodbridge
16
     securities transferred over from other SDIRA custodians who had ceased doing
17

18   business with Woodbridge at least as late as November 2017.
19
              10.      By their actions and inactions, Defendants breached contractual and
20

21
     fiduciary duties owed directly to Plaintiffs and the Class2, were grossly negligent,

22

23

24

25
     2. As set forth at ¶ 100, infra, the Class in this action (“Class”) consists of all persons for whom Provident opened
26   and/or maintained IRA accounts as custodian, that were invested in Woodbridge Securities (as defined above), at
     any time between January 1, 2014 and December 31, 2017 inclusive (the “Class Period”). Excluded from the Class
27   are Defendants and any person, firm, trust, corporation or other entity related to or affiliated with Woodbridge.
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 1   and were unjustly enriched, as further detailed below. Plaintiffs now bring this
 2
     class action seeking, inter alia, recovery of money damages.
 3

 4                             JURISDICTION AND VENUE
 5
           11.    This Court has jurisdiction over the subject matter presented by this
 6

 7
     class action complaint because it is a class action arising under the Class Action

 8   Fairness Act of 2005 (“CAFA”), Pub. L. No. 102-2, 119 Stat. 4 (2005), which
 9
     explicitly provides for the original jurisdiction of the federal courts of any class
10

11   action in which any member of the plaintiff class is a citizen of a state different
12
     from any defendant, and in which the matter in controversy exceeds in the
13

14
     aggregate the sum of $5,000,000.00, exclusive of interest and costs.

15         12.    Plaintiffs allege that the total claims of the individual members of the
16
     Class in this action are in excess of $5,000,000.00 in the aggregate, exclusive of
17

18   interest and costs, as required by 28 U.S.C. § 1332(d)(2), (5).
19
           13.    Plaintiffs are citizens of Nevada and California, and as set forth
20

21
     below, Defendants can be considered citizens of Delaware (Ascensus’s state of

22   incorporation), Nevada (Provident’s state of incorporation and location of its
23
     principal office) and Pennsylvania (the location of Ascensus’s principal office) for
24

25   purposes of diversity. Therefore, diversity of citizenship exists under CAFA as
26

27

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 1   required by 28 U.S.C. § 1332(d)(2)(A) because “any member of a class of
 2
     plaintiffs is a citizen of a State different from any defendant.”
 3

 4          14.       Furthermore, Plaintiffs allege that more than two-thirds of all of the
 5
     members of the proposed Class (as defined below) in the aggregate are citizens of
 6

 7
     a state other than Nevada, in which this action is originally being filed, and that the

 8   total number of members of the proposed Class is greater than 100, pursuant to 28
 9
     U.S.C. § 1332(d)(5)(B).
10

11          15.       Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391
12
     because, as set forth below, Defendants conduct business in, and may be found in,
13

14
     this District.

15                                         THE PARTIES
16
            16(a).       Plaintiff Noel C. Murray, a resident of Henderson, Nevada,
17

18   invested $54,148.84 in unregistered Woodbridge securities in or about September
19
     2016. These Woodbridge securities were held in an IRA account at Provident.
20

21
            16(b).       Plaintiff Dr. Swarna Perera, a resident of La Canada Flintridge,

22   California, invested $600,000.00 in unregistered Woodbridge securities in or about
23
     November 2017. These Woodbridge securities were held in an IRA account at
24

25   Provident.
26

27

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 1         17.    Defendant Provident is a Nevada limited liability company formed in
 2
     2009. Provident’s principal office is located at: 8880 W. Sunset Rd., Ste. 250, Las
 3

 4   Vegas, NV. PTG is a non-discretionary trustee, administrator and custodian of
 5
     IRA assets, and currently maintains more than $4 billion in assets under custody
 6

 7
     and nearly 30,000 clients in all 50 states.

 8         18.    Defendant Ascensus is a Delaware limited liability company formed
 9
     in 2003. Ascensus’s principal office is located at 200 Dryden Road, Dresher, PA.
10

11   Ascensus is the nation’s largest independent retirement plan and college savings
12
     services provider, with more than $163 billion in assets under administration.
13

14
     Ascensus manages more than 54,000 retirement plans through various

15   partnerships. In October 2017, Ascensus entered into an agreement to acquire
16
     Provident as part of its retirement division. Ascensus is jointly owned by private
17

18   equity firms Genstar Capital and Aquiline Capital Partners. Ascenscus and
19
     Provident are hereinafter sometimes referred to jointly as “Defendants”.
20

21
                                FACTUAL BACKGROUND

22         Provident as Trustee and Custodian of Self-Directed Individual
23         Retirement Accounts
24
           19.    Provident occupies a unique position in the financial services industry,
25
     as a leading trustee and custodian for self-directed IRAs or SDIRAs, which are a
26

27   type of IRA account in which investors may place a variety of assets, including
28                                  CLASS ACTION COMPLAINT
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 1   non-conventional investments. As stated in 2013 by PTG’s founder and current
 2
     CEO, Ms. Theresa Fette, “Self-directed IRAs have existed for the last 40 years, but
 3

 4   only 2 percent of the population even knows you can have one.”
 5
           20.    SDIRAs are provided by some financial institutions in the United
 6

 7
     States in order to allow investors to invest retirement monies in certain alternative

 8   investments, including but not limited to real estate, physical commodities, private
 9
     mortgages, private company stock, oil and gas limited partnerships, precious
10

11   metals and artwork.
12
           21.    In order to provide for and enhance the security of retirement income
13

14
     in the United States, a federal law imposes trustee status and minimum federal

15   fiduciary standards of conduct on providers of certain retirement-related services,
16
     including IRAs and SDIRAs. See ERISA, 29 U.S.C. §§ 1104, 1021-1031; Code”,
17

18   26 U.S.C. 408; Treas. Reg. 1.408-2, 26 C.F.R., promulgated pursuant to Code §§
19
     401 and 408. Among the minimum federal fiduciary standards of conduct are
20

21
     those for persons providing services for federally created IRAs, which include

22   trustees and directed custodians such as PTG. Id.
23
           22.    Pursuant to federal law and in order to ensure the security of the
24

25   retirement income from such property, each Plaintiff and Class Member entered
26
     into, as federal law requires, a trust with Defendants over the property transferred
27

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 1   to the Defendants. Id. In order to secure the retirement income from the trust,
 2
     federal law requires Defendants to act as “trustees” in a fiduciary relationship with
 3

 4   each Plaintiff and Class Member. Id. This relationship is fiduciary in nature but is
 5
     defined, in part, by a contract between Plaintiffs and Defendants in a form
 6

 7
     conforming to ERISA and regulatory standards, which must be approved by U.S.

 8   government regulators. A form of Defendants’ Individual Retirement Custodial
 9
     Account Agreement (“PTG Trust Agreement”) in force for a portion of the Class
10

11   Period herein is annexed as Exh. 1.
12
           An IRA is a Federally-Created Trust
13

14
           23.    Individual Retirement Accounts came into existence in 1974, when

15   they were created by the federal government in a statute known as the Employee
16
     Retirement Income Security Act of 1974, Pub. L. 93-406, Title II, Sept. 2, 1974,
17

18   codified at 29 U.S.C. § 1001 et seq.
19
           24.    An IRA is a trust created or organized in the United States for the
20

21
     exclusive benefit of an individual or his beneficiaries, but only if the written

22   governing instrument creating the trust meets certain enumerated requirements,
23
     including, in relevant part: (i) that the trustee is a bank [as defined by statute] or
24

25   such other person who demonstrates to the satisfaction of the Commissioner, that
26
     the manner in which the trust will be administered will be consistent with the
27

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 1   requirements set forth under the Code, (ii) that no part of the trust will be invested
 2
     in life insurance contracts, (iii) that the interest of an individual in the balance in
 3

 4   his account is nonforfeitable, and (iv) that assets of the trust will not be
 5
     commingled with other property except in a common trust or common investment
 6

 7
     fund. Code § 408(a) (2008); see also, 26 C.F.R. Treas. Reg. § 1.408-2 (a-b).

 8         25.    Here, the “written governing instrument creating the trust” was
 9
     Defendants’ standardized form contract, the PTG Trust Agreement, that was
10

11   entered into by Plaintiffs and all Class Members. See Exh. 1. This contract was
12
     drafted in its entirety by Defendants. This non-negotiable contract was presented
13

14
     on a take-it-or-leave-it basis to Class Members and was not drafted, amended, or

15   negotiated in any way by Plaintiffs or Class Members.
16
           The Federally-Created Minimum Fiduciary Standards of Conduct for the
17
           IRAs at Issue Here
18
           26.    Section 408 of the Code, and the federal regulations promulgated
19

20   thereunder, including C.F.R. § 1.408-2, use the language and terminology of trust
21
     law (such as “participant,” “beneficiary,” “fiduciary,” and “trustee”) in specifying
22

23   the trust and the relationship that any form contract or “written governing
24
     instrument creating the trust” was required to create.
25

26

27

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 1          27.     Pursuant to federal law, Defendants were obligated to comply with the
 2
     following minimum standards and owed the following duties to preserve the Trust
 3

 4   res of each Plaintiff and Class Member:
 5
            (i)     The fiduciary duty to acquire and hold particular investments
 6

 7
                    specified by the trust instrument. Treas. Reg. 1.408-2(e)(viii)(6)(i)(A).

 8          (ii)    The fiduciary duty to keep custody of investments and, except for
 9
                    investments pooled in a common investment fund in accordance with
10

11                  the provisions of the Treasury Regulations, to refrain from
12
                    commingling the investments of each account with any other property.
13

14
                    Treas. Reg. 1.408-2(e)(v)(A).

15          (iii)   The fiduciary duty to deposit assets of accounts requiring safekeeping
16
                    in an adequate vault. Treas. Reg. 1.408-2(e)(v)(B).
17

18          (iv)    The fiduciary duty to determine the assets held by it in trust and the
19
                    value of such assets at least once in each calendar year and no more
20

21
                    than 18 months after the preceding valuation. Treas. Reg. 1.408-

22                  2(e)(5)(ii)(E).
23
            (v)     The fiduciary duty to receive, issue receipts for, and safely keep
24

25                  securities. Treas. Reg. 1.408-2(e)(4)(ii)(A).
26
     ///
27

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 1         The Standardized Form Contract That Provident Created and Entered into
 2         with Class Members
 3
           28.    In the context of the foregoing mandatory federal duties, Defendants
 4
     created a standardized form contract, defined above as the PTG Trust Agreement.
 5

 6   While the PTG Trust Agreement was drafted by Defendants, it conforms to IRS
 7
     regulations and was approved by the IRS.
 8

 9         29.    Form 5305A, as promulgated by the Internal Revenue Service, sets
10
     forth the provisions which must be contained in a valid form of “Traditional
11
     Individual Retirement Custodial Account” under Section 408 of the Code.
12

13         30.    Form 5305A states that the model agreement set forth therein “meets
14
     the requirements of section 408(a)” and is thus pre-approved by the IRS. Of note,
15

16   however, Form 5305A does provide the caveat that “only Articles I through VII
17
     have been reviewed by the IRS.” Article VII of the model agreement serves as a
18
     repository for any additional provisions to be applied by the trustee and/or
19

20   custodian.
21
           Federal Approval of the Form of the Contracts
22

23         31.    In addition to providing “pre-approval” to IRA custodial account
24
     agreements which conform to federal Form 5305A, the IRS reviews individual
25
     custodial account agreements to determine their compliance with federal law.
26

27

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 1          32.     Under the PTG Trust Agreement, Provident expressly provided that
 2
     the contract would comply with and reflect federal standards and federal
 3

 4   requirements; for example:
 5
            (i)     “The depositor named on the application is establishing a Traditional
 6

 7
                    individual retirement account under section 408(a) to provide for his

 8                  or her retirement and for the support of his or her beneficiaries after
 9
                    death.” See Preamble of PTG Trust Agreement.
10

11          (ii)    “The custodian must be a bank or savings and loan association, as
12
                    defined in section 408(n), or any person who has the approval of the
13

14
                    IRS to act as custodian.” See Definitions of PTG Account Agreement.

15          (iii)   “Each year (and when you take IRA distributions), we are required to
16
                    report the fair market value (“FMV”) of the assets within your IRA to
17

18                  the IRS. The IRS definition of FMV is the price at which the asset
19
                    would change hands between a willing buyer and a willing seller,
20

21
                    neither being under any compulsion to buy or sell, and both having a

22                  reasonable knowledge of the relevant facts.” See Section 8.16 –
23
                    Valuations Policy, of the PTG Account Agreement.
24

25   ///
26

27

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 1         IRS Rules Concerning Disqualified Persons and Prohibited Transactions
 2
           33.    As set forth in IRS Publication 590-A, “Generally, a prohibited
 3

 4   transaction is any improper use of your traditional IRA account or annuity by you,
 5
     your beneficiary, or any disqualified person.”
 6

 7
           34.    Many prohibited transactions stem from the involvement of a

 8   disqualified person. Examples of disqualified persons per IRS guidance as it
 9
     relates to IRAs and SDIRAs include: the account owner, a beneficiary of the IRA,
10

11   the account owner’s spouse, plan service providers, and fiduciaries. The term
12
     fiduciaries applies to advisors, custodians, and account administrators.
13

14
           35.    Here, Defendants would meet the definition of a disqualified person

15   as the plan service provider and custodian for the SDIRAs established by Plaintiffs
16
     and the Class. Further, any financial advisor rendering advice for remuneration to
17

18   Plaintiffs or members of the Class would also be considered a disqualified person
19
     per IRS guidance.
20

21
           36.    With respect to disqualified persons, the IRS has provided ample

22   guidance concerning what constitute prohibited transactions. Examples of
23
     prohibited transactions include, but are not limited to: (i) the sale, exchange or
24

25   leasing of a property between an IRA and a disqualified person, (ii) furnishing
26
     goods, services, or facilities between and IRA and a disqualified person, (iii) the
27

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 1   extension of credit or cash loan between an IRA and a disqualified person, and (iv)
 2
     use of personal assets by a disqualified person to pay an IRA asset’s expenses.
 3

 4         Defendants’ Ongoing and Pervasive Failures as Trustee and Custodian
           Over Plaintiffs’ Assets
 5

 6         37.    From the outset, Defendants failed to properly safeguard and manage
 7
     the IRA accounts of Plaintiffs and the Class in a professional and fiduciary manner
 8

 9   in keeping with industry standards and in accordance with applicable state and
10
     federal laws. The risks created by these derelictions materialized and caused
11
     Plaintiffs’ losses when Woodbridge proved to be operating unlawfully.
12

13         38.    Defendants breached their professional and fiduciary duties as plan
14
     administrators and custodian of assets. For example, pursuant to Treas. Reg.
15

16   1.408-2(e)(5)(ii)(E), PTG had an affirmative duty to determine the assets held by it
17
     in trust and the value of such assets at least once in each calendar year and no more
18
     than 18 months after the preceding valuation (see supra, ¶ 4).
19

20         39.    In addition to Treas. Reg. 1.408-2(e)(5)(ii)(E) and its guidance
21
     concerning valuation of assets, Defendants also entered into a contract with
22

23   Plaintiffs and the Class, under which Defendants acknowledged their obligation as
24
     custodian to timely report asset valuation to the IRS: “Each year (and when you
25
     take IRA distributions) we are required to report the fair market value (“FMV”) of
26

27

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 1   the assets within your IRA to the IRS.” See Exh. 1, p. 7, at Section 8.16 –
 2
     Valuations Policy.
 3

 4          40.     Here, despite Defendants’ duties to “determine the assets held by”
 5
     Provident in trust, and timely assign a fair market value to the assets held by
 6

 7
     Plaintiffs and Class Members in their respective SDIRAs each year, Defendants

 8   apparently took no steps even to verify the general nature of Woodbridge
 9
     investments, their status as securities, their underlying assets, and/or their
10

11   registration status.
12
            41.     Despite these duties, Defendants also:
13

14
            (i)     failed to obtain audited financial statements for Woodbridge from a

15                  recognized accountant to confirm the existence and value of the
16
                    underlying assets;
17

18          (ii)    failed to perform Generally Accepted Auditing Standard (“GAAS”)
19
                    “audits” using whatever tests of the books or records were considered
20

21
                    necessary by a public accountant;

22          (iii)   failed to confirm that Woodbridge noteholders’ liens on third-party
23
                    collateral were properly perfected;
24

25

26

27

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 1         (iv)   failed to contact beneficiaries during the course of their professional
 2
                  relationship, as is standard practice in the industry;
 3

 4         (v)    failed to prepare certain federally mandated (and contractually
 5
                  obligated) annual reports of transactions related to the IRA, including
 6

 7
                  assigning an updated FMV as to the unregistered Woodbridge

 8                securities;
 9
           (vi)   as more fully described below (see infra, ¶¶ 86-99) failed to perform
10

11                even the most basic due diligence and prudent custodial management
12
                  on behalf of Plaintiffs and the Class, even after multiple state and
13

14
                  federal regulators accused Woodbridge of serious violations of law.

15         42.    Finally, on information and belief Defendants routinely permitted
16
     disqualified persons such as financial advisors, salespeople and brokerage firms to
17

18   pay IRA custodial fees to Defendants on behalf of Class members. For example,
19
     Plaintiff Swarna Perera entrusted her hard-earned retirement funds to Defendants
20

21
     for purposes of establishing an SDIRA at the behest of her then-financial advisor,

22   Mr. Max Hechtman. In late 2017, Mr. Hechtman recommended that Ms. Perera
23
     roll over her then-existing retirement account in order to establish a SDIRA with
24

25   Defendants. In the course of setting up her SDIRA at Provident, Hechtman
26

27

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 1   submitted a credit card authorization for a credit card in his own name and paid the
 2
     fees charged by PTG for Ms. Perera’s account.
 3

 4          43.     This payment was a prohibited transaction under applicable
 5
     regulations, because by virtue of Mr. Hechtman’s status as a fiduciary, he was a
 6

 7
     “disqualified person” and was not permitted to pay for any expenses related to Ms.

 8   Perera’s SDIRA, including the annual $395 fee charged by Provident to SDIRA
 9
     owners.
10

11          Woodbridge Raises $1.2 Billion in Investor Capital Through a Nationwide
            Sales Network
12

13          44.     The Woodbridge Group of Companies, LLC (d/b/a Woodbridge
14
     Wealth) is based in Sherman Oaks, CA. Together with its affiliate companies,3 the
15

16   Woodbridge Group of Companies, LLC is referred to herein as “Woodbridge”.
17
     Formed in 2014, Woodbridge was founded by Mr. Robert Shapiro, and at its peak,
18
     the company employed approximately 140 persons in offices in six states.
19

20          45.     Woodbridge advertised its primary business as purportedly issuing
21
     loans to third-party commercial property owners who paid Woodbridge 11-15%
22

23   annual interest for so-called “hard money” or short-term loan financing.
24

25   3. The Woodbridge affiliate companies as included in the definition of Woodbridge herein include: WMF
     Management, LLC, Woodbridge Structured Funding, LLC, Woodbridge Pre-Settlement Funding, LLC, Woodbridge
26   Mortgage Investment Fund 1, LLC, Woodbridge Mortgage Investment Fund 2, LLC, Woodbridge Mortgage
     Investment Fund 3, LLC, Woodbridge Mortgage Investment Fund 3A, LLC, Woodbridge Mortgage Investment
27   Fund 4, LLC, Woodbridge Commercial Bridge Loan Fund 1, LLC, Woodbridge Commercial Bridge Loan Fund 2,
     LLC.
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 1   Woodbridge represented that these were “secured” investments insofar as the
 2
     company placed mortgages on the properties for which it lent money.
 3

 4         46.    Beginning as early as 2012, Woodbridge and its affiliate entities
 5
     offered unregistered securities in derogation of federal and applicable state
 6

 7
     securities laws to investors in various locations across the United States, including

 8   but not limited to residents of Arizona, California, Colorado, Florida,
 9
     Massachusetts, Michigan, Nevada, Ohio, Pennsylvania, and Texas.
10

11         47.    These unregistered Woodbridge securities were offered to investors in
12
     at least two forms: (i) subscription agreements for the purchase of equity interests
13

14
     in one of Woodbridge’s seven Delaware limited liability companies (“Units”); and

15   (ii) lending agreements, some of which were referred to as “First Position
16
     Commercial Mortgage Notes,” “mezzanine loans,” “construction loans,” and “Co-
17

18   Lending Opportunities” (collectively, “FPCMs”). Woodbridge FPCMs and Units
19
     are hereinafter sometimes collectively referred to as “Woodbridge Securities”.
20

21
           48.    With respect to Woodbridge Units, investors were asked to give

22   Woodbridge at least $50,000 per Unit for a term of five years in exchange for a
23
     right to receive distributions and an equity interest in one of seven limited liability
24

25   companies formed by Woodbridge in Delaware. Units investors executed
26
     subscription and joinder agreements to memorialize the investment.
27

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 1         49.    As to the FPCMs, investors were solicited to invest anywhere between
 2
     $25,000 to well over $250,000, with Woodbridge pooling these investor funds.
 3

 4   Woodbridge would then lend the pooled investor capital to purported third-party
 5
     borrowers for a short time at a high interest rate, ostensibly in order to facilitate the
 6

 7
     acquisition and/or development of real property. In exchange for lending money to

 8   Woodbridge, FPCM investors were promised that they would earn a secured yield
 9
     (e.g., as high as 5-6% in some instances), payable in fixed monthly interest
10

11   payments, for a term of nine, twelve, or eighteen months, with options to renew or
12
     “reposition” their lending toward different real estate deals at the end of the term.
13

14
     FPCM investors were informed that their investment was secured by a “collateral

15   assignment of note, mortgage, and other loan documents,” which would be
16
     recorded with the real property that was the subject of the loan.
17

18         50.    Woodbridge ultimately raised approximately $1.2 billion in investor
19
     capital, through the sales of unregistered securities to more than 8,000 investors
20

21
     nationwide. In order to accomplish these sales, Woodbridge utilized in-house

22   employees to market Woodbridge Units and FPCMs, as well as a nationwide
23
     network of external referrers, insurance salespersons, and financial advisors and
24

25   planners. Most of these persons acting as Woodbridge sales agents were not
26
     registered representatives with FINRA member firms, and therefore were not
27

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 1   licensed to sell securities. In fact, many of Woodbridge’s unlicensed sales agents
 2
     were former licensed FINRA registered representatives who had lost their licenses
 3

 4   to sell securities due to misconduct- a status that was readily discoverable via a
 5
     rudimentary Internet search of FINRA’s public database, accessible at
 6

 7
     https://brokercheck.finra.org/.

 8         51.    Woodbridge and its sales agents routinely directed investors in
 9
     unregistered securities to Provident, and assisted them in completing the
10

11   paperwork to transfer their IRA assets from other IRA custodians to Provident.
12
     Provident, as an established IRA custodian, provided a veneer of respectability to
13

14
     Woodbridge and its motley assortment of sales agents, many of whom had never

15   had licenses to sell securities or had lost their licenses, and operated small
16
     insurance sales or notary services offices out of strip malls and similar locations.
17

18         Woodbridge’s Business Model Attracts Regulatory Enforcement Actions
           and Litigation
19

20                Massachusetts
21
           52.    Beginning as early as 2015, Woodbridge came under considerable
22

23   scrutiny from state securities regulators across the United States. For example, on
24
     May 4, 2015, the Commonwealth of Massachusetts Securities Division entered
25
     into a Consent Order with Woodbridge and certain of its funds (“Massachusetts
26

27   Consent Order”). Through its findings of fact, Massachusetts securities regulators
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 1   noted that the Woodbridge investments offered to investors in that state were
 2
     neither registered as securities in Massachusetts or on the federal level, nor were
 3

 4   these investments exempt from registration as securities products. Attached hereto
 5
     as Exh. 2 is a copy of the Massachusetts Consent Order.
 6

 7
           53.    Pursuant to the May 2015 Massachusetts Consent Order, Woodbridge

 8   and its affiliate entities were directed to “[p]ermanently cease and desist from
 9
     selling unregistered or non-exempt securities in the Commonwealth of
10

11   Massachusetts.”
12
           54.    As enumerated in the Massachusetts Consent Order, Woodbridge
13

14
     investors “[m]ay have been uninformed of the potential risks typically associated

15   with real estate transactions … [including the need to] rely on Woodbridge to
16
     properly value the property serving as collateral on the loan (which it does through
17

18   the use of certified appraisals and Broker Price Opinions), including the potential
19
     for depreciation, to file the Massachusetts Investor’s security interest on local land
20

21
     records, and to obtain title insurance on property.”

22         55.    Under the May 2015 Massachusetts Consent Order, Woodbridge was
23
     directed to make an offer of rescission to all eligible Massachusetts investors, in
24

25   addition to the imposition of a $250,000 fine payable to the Commonwealth of
26
     Massachusetts.
27

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 1                 Texas
 2
           56.     As publicly reported, on July 17, 2015, the Texas State Securities
 3

 4   Board issued an Emergency Cease and Desist Order against certain Respondents,
 5
     including Woodbridge Mortgage Investment Fund 3, LLC, Robert Shapiro in his
 6

 7
     capacity as then-acting Woodbridge CEO, as well as certain individuals and

 8   business entities comprising part of Woodbridge’s nationwide sales network
 9
     (“Texas Emergency Order”). Attached hereto as Exh. 3 is a copy of the Texas
10

11   Emergency Order.
12
           57.     Among the factual findings by the Staff of the Texas States Securities
13

14
     Board, as enumerated in its July 2015 order, were the following, in relevant part:

15         (i)     “Respondent Woodbridge, Shapiro… are offering for sale investments
16
                   in Respondent Woodbridge’s First Position Commercial Mortgage
17

18                 Note Program.”
19
           (ii)    “The investments in the Note Program have not been registered by
20

21
                   qualification, notification or coordination, and no permit has been

22                 granted for their sale in Texas.”
23
           (iii)   “Regulation D, Rule 506, promulgated under the Securities Act of
24

25                 1933, authorizes issuers to engage in general solicitation when selling
26
                   covered securities and preempts state securities registration laws
27

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 1                provided that, among other things, all purchasers of the securities are
 2
                  accredited investors and the issuers take reasonable steps to verify that
 3

 4                such purchasers are accredited investors.”
 5
           (iv)   “Respondents are not taking reasonable steps to verify that all
 6

 7
                  purchasers are accredited investors.”

 8         58.    Pursuant to the July 2015 Texas Emergency Order, the Texas State
 9
     Securities Board concluded that Woodbridge’s so-called FPCMs were, in fact,
10

11   securities as defined by Section 4.A of the Texas Securities Act. Moreover, Texas
12
     securities regulators concluded that Respondents Woodbridge and Shapiro were
13

14
     “[e]ngaging in fraud in connection with the offer for sale of securities.”

15         59.    In rendering its order, the Texas State Securities Board determined
16
     that Woodbridge had intentionally failed to disclose the identities and
17

18   qualifications of its principals, did not disclose the assets and liabilities relevant to
19
     the company’s ability to pay investors monthly returns and return of principal, did
20

21
     not disclose the anticipated use of funds nor allocation of costs associated with the

22   FPCM program, and failed to disclose that it would pool investor funds until
23
     raising enough to fund a commercial loan.
24

25         60.    On March 18, 2016, Woodbridge (through its Woodbridge Mortgage
26
     Investment Fund 3) and Robert Shapiro consented to an order by the Texas State
27

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 1   Securities Board (“Texas Consent Order”). The Texas Consent Order found that
 2
     Robert Shapiro was the controlling person of Woodbridge Mortgage Investment
 3

 4   Fund 3, concluded that FPCMs were securities, and concluded that Woodbridge
 5
     and Shapiro violated the Texas Securities Act by offering unregistered securities.
 6

 7
                  Arizona

 8         61.    On October 4, 2016, the Securities Division of the Arizona
 9
     Corporation Commission issued a Temporary Cease and Desist Order against
10

11   certain Respondents, including in relevant part, Woodbridge and certain of its
12
     funds, in addition to Robert Shapiro (“Arizona Temporary Order”). Attached
13

14
     hereto as Exh. 4 is a copy of the Arizona Temporary Order.

15         62.    Pursuant to the Arizona Temporary Order, Arizona securities
16
     regulators identified the FPCMs as “[s]ecurities in the form of notes, investment
17

18   contracts, and real property investment contracts.”
19
           63.    Further, Arizona securities regulators identified certain risks
20

21
     associated with an investment in a Woodbridge FPCM, including potential

22   difficulty in assigning a valuation to the underlying real estate: “The value of the
23
     real estate collateral for the hard-money loan might be too low due to depreciation
24

25   or the Woodbridge Funds’ failure to properly value it.”
26

27

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 1         64.    In similar fashion to the approach taken by Texas securities
 2
     regulators, the Arizona Temporary Order not only alleged violations in connection
 3

 4   with failure to properly register securities (or, in the alternative, claim a valid
 5
     exemption), but also alleged securities fraud in connection with the offer or sale of
 6

 7
     securities in violation of the Arizona Securities Act. Pennsylvania

 8         65.    On April 24, 2017, the Commonwealth of Pennsylvania Bureau of
 9
     Securities Compliance and Examinations entered into a Consent Agreement and
10

11   Order with Woodbridge Structured Funding, LLC (“Pennsylvania Consent
12
     Order”). Attached hereto as Exh. 5 is a copy of the Pennsylvania Consent Order.
13

14
           66.    As with other investigations conducted by various state securities

15   regulators, the Pennsylvania Bureau of Securities reviewed “[t]he business
16
     practices of Woodbridge… its affiliates and investment funds and products… and
17

18   its officers, employees and agents.” As a result of that investigation, Pennsylvania
19
     securities regulators concluded that Woodbridge had operated in violation of the
20

21
     Pennsylvania Securities Act of 1972 by virtue of its attempt to “[e]ffect purchases

22   or sales of securities issued by Woodbridge” where the individual selling these
23
     investment products was neither registered pursuant to Pennsylvania securities
24

25   laws, nor exempt from registration.
26

27

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 1         67.    Pursuant to the Pennsylvania Consent Order, Woodbridge agreed to
 2
     pay an administrative assessment of $30,000, and further, was ordered to comply
 3

 4   with the Pennsylvania Securities Act of 1972.
 5
                  Michigan
 6

 7
           68.    On August 8, 2017, the State of Michigan Securities Bureau issued a

 8   Cease and Desist Order as against Woodbridge affiliate Woodbridge Mortgage
 9
     Investment Fund 2, LLC, in connection with the sales of Woodbridge FPCMs to
10

11   Michigan investors (“Michigan Order”). Attached hereto as Exh. 6 is a copy of the
12
     Michigan Order.
13

14
           69.    In connection with Michigan’s investigation into the matter, it was

15   determined that Woodbridge “[o]ffered and sold [FPCMs] in Michigan that fell
16
     within the definition of ‘security’; approximately 230 investors invested more than
17

18   $14,000,000.00 with Respondent and its affiliated companies. The [FPCMs] were
19
     not federally covered, exempt from registration, or registered.”
20

21
           70.    Furthermore, the Michigan Securities Bureau expressed concern with

22   the Woodbridge business model, and more specifically, its failure to disclose
23
     certain material information to prospective investors, including:
24

25         “… relevant financial information to demonstrate to investors that the
           issuer had the ability to pay the promised return [as well as
26
           communicating] to investors that Respondent had been ordered by
27         multiple jurisdictions to cease and desist from offering the notes for
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 1         sale. A reasonable investor may have considered the cease and desist
 2         orders issued by Massachusetts, Texas, and Arizona important to his
           or her investment decision, meaning that the omission was material.”
 3

 4         71.    Pursuant to the Michigan Order, Woodbridge agreed to cease and
 5
     desist from offering or selling unregistered securities and from omitting material
 6

 7
     information in connection with the offer and sale of securities, as well as the

 8   imposition of a monetary fine of $500,000.
 9
                  SEC Investigation
10

11         72.    Beginning in or around September 2016, at the same time that
12
     numerous state securities regulators were conducting investigations into
13

14
     Woodbridge, the SEC initiated its own investigation into Woodbridge on the

15   federal level, with an initial focus on “possible violations of the securities laws,”
16
     including “the offer and sale of unregistered securities, the sale of securities by
17

18   unregistered brokers, and the commission of fraud in connection with the offer,
19
     purchase, and sale of securities.”
20

21
           73.    On January 31, 2017, as the SEC’s investigation into Woodbridge

22   progressed, the Commission sought documents from Woodbridge and its principal
23
     and then-CEO, Mr. Shapiro, via subpoena.
24

25         74.    On July 17, 2017, having obtained a court order requiring production
26
     under its January subpoena, the Commission brought an enforcement action
27

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 1   against Woodbridge in federal court in the Southern District of Florida (Case No.
 2
     17-mc-22665-Altonga/Goodman) following Woodbridge’s failure to produce
 3

 4   documents relevant to the SEC’s investigation, including company emails of
 5
     Robert Shapiro and Woodbridge’s controller.
 6

 7
           75.   On October 31, 2017, the SEC brought a second subpoena

 8   enforcement action against Woodbridge in the Southern District of Florida (Case
 9
     No. 17-mc-23986-Huck/McAliley) against 235 Limited Liability Companies
10

11   affiliated with Woodbridge, after those same 235 LLC’s failed to produce
12
     documents as required under the SEC’s August 16 and 17, 2017 subpoenas seeking
13

14
     information related to Woodbridge’s ownership structure and payments

15   purportedly made by certain LLC’s to Woodbridge.
16
                 Woodbridge Declares Bankruptcy
17

18         76.   Under intense regulatory scrutiny at both the federal and state level
19
     for its questionable business practices, on December 4, 2017, Woodbridge
20

21
     voluntarily sought Chapter 11 bankruptcy protection. See In re Woodbridge Group

22   of Companies LLC, et al., Case No. 17-12560 (Bankr. D. Del. Dec. 4, 2017).
23
           77.   In the immediate aftermath of Woodbridge filing for bankruptcy, the
24

25   company sent investors a letter, dated December 5, 2017, and which stated, in
26
     relevant part: “While Woodbridge continues to be a leading developer of high-end
27

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 1   real estate, as the business has grown, increased operating and development costs
 2
     have been exacerbated by the unforeseen costs associated with ongoing litigation
 3

 4   and regulatory compliance. This combination of rising costs and regulatory
 5
     pressure led to a loss of liquidity, resulting in an inability to make our regularly
 6

 7
     scheduled one-year Notes payment due December 1, 2017.”

 8          78.   Not fully explained in Woodbridge’s December 5 investor letter was
 9
     the following revelation, as set forth in Woodbridge’s bankruptcy petition:
10

11          While the Debtors believe that the Noteholders’ liens on Third-Party
            Collateral are not properly perfected and are thus subject to
12
            avoidance, out of an abundance of caution, at this stage in the
13          proceedings the Debtors are making available conditional adequate
14
            protection to the Noteholders…

15          79.   From the outset of Woodbridge’s bankruptcy proceeding, the
16
     distressed real estate company has essentially asserted that FPCM investors do not
17

18   possess perfected liens, and therefore, are unsecured creditors who will not stand to
19
     receive a penny in bankruptcy until after secured creditors have been paid in full.
20

21
            80.   Unsurprisingly, the news of Woodbridge’s bankruptcy caused

22   numerous investors, including Plaintiffs, great distress and shock, particularly
23
     given the fact that Woodbridge FPCMs and Units were aggressively marketed and
24

25   touted as safe and conservative financial instruments.
26
     ///
27

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 1                SEC Enforcement Action in Federal Court
 2
           81.    From the SEC’s perspective, Woodbridge’s decision to voluntarily
 3

 4   file for Chapter 11 bankruptcy did nothing to change the company’s questionable
 5
     business model and practices. In fact, on December 20, 2017, the Commission
 6

 7
     filed a Complaint for Injunctive and Other Relief (U.S. District Court, Southern

 8   District of Florida Case No. 1:17-cv-24624-MGC, hereinafter the “SEC Action”)
 9
     alleging as follows:
10

11         “Beginning in July 2012 through December 4, 2017, Defendant
           [Robert Shapiro] used his web of more than 275 Limited Liability
12
           Companies to conduct a massive Ponzi scheme raising more than
13         $1.22 billion from over 8,400 unsuspecting investors nationwide
14
           through fraudulent unregistered securities offerings. Despite
           receiving over one billion in investor funds, Shapiro and his
15         companies only generated approximately $13.7 million in interest
16         income from truly unaffiliated third-party borrowers. Without real
           revenue to pay the monies due to investors, Shapiro resorted to fraud,
17
           using new investor money to pay the returns owed to existing
18         investors.” (emphasis added).
19
           82.    In formally announcing charges, as well as an asset freeze, against
20

21
     Woodbridge and its related unregistered affiliate investment funds, the SEC

22   essentially halted Defendant Shapiro and Woodbridge from conducting any further
23
     sales of unregistered securities to unwitting and vulnerable investors nationwide.
24

25         83.    In an Amended Complaint filed on May 4, 2018, the SEC alleged that
26
     Woodbridge:
27

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 1         [P]romised investors they would be repaid from the high rates of
 2         interest Shapiro’s companies were earning on loans the companies
           were purportedly making to third-party borrowers. However, nearly
 3
           all the purported third-party borrowers were actually limited liability
 4         companies owned and controlled by Shapiro, which had no revenue,
           no bank accounts, and never paid any interest under the loans.
 5
           (Amended Complaint in SEC Action, ¶ 1)
 6

 7
           84.      The SEC Action further alleged that Woodbridge offered its FPCM

 8   product to its external sales agents at a 9% wholesale rate, and the agents in turn
 9
     offered the FPCM to their investor clients at 5% to 8% annual interest—the
10

11   external sales agent received a commission equivalent to the difference. As
12
     alleged in the SEC Action, Woodbridge paid external sales agents at least $64.5
13

14
     million in commissions through this arrangement. The SEC Action further alleges

15   that “many of these sales agents were not associated with registered broker-dealers
16
     or investment advisory firms. Several of these sales agents, including some of the
17

18   highest producers, had been censured or barred by the Commission, FINRA or
19
     state securities regulators.”
20

21
           85.      In May 2018, the Court in the SEC Action entered an injunction

22   against certain of the defendants therein, including Woodbridge and its affiliated
23
     funds, prohibiting Woodbridge from selling any further unregistered securities in
24

25   the United States. See SEC Action, ECF No. 151 (Judgment As To Debtor
26
     Defendants).
27

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 1         Defendants Failed To Conduct Minimal Due Diligence and Ignored
 2         Numerous Red Flags Revealing Woodbridge’s Unlawful Conduct
 3
           86.    At all relevant times, Defendants had a duty to safeguard and manage
 4
     the IRA accounts of Plaintiffs and the Class in a professional and fiduciary manner
 5

 6   in accordance with industry standards and applicable state and federal laws.
 7
            87.   Despite their duties to Plaintiffs and the Class, from the outset
 8

 9   Defendants failed to adhere to even the most basic federally mandated rules and
10
     requirements concerning IRAs and SDIRAs and were grossly negligent in
11
     choosing to flagrantly ignore the numerous red flags surrounding Woodbridge’s
12

13   unlawful conduct.
14
           88.    As alleged in the SEC Action, instead of issuing loans to unaffiliated
15

16   third-party borrowers in arms-length transactions, Woodbridge used Woodbridge
17
     Securities investor funds to purchase almost 200 residential and commercial
18
     properties located primarily in Los Angeles, California and Aspen, Colorado.
19

20   Woodbridge placed title to those property in the name of LLCs, which were
21
     ultimately owned and/or controlled by Shapiro, rather than third-party borrowers as
22

23   was represented to investors on the face of Woodbridge promissory notes. The
24
     promissory notes identified the borrower, but did not indicate that the particular
25
     LLC listed as a borrower was controlled by Shapiro.
26

27

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 1         89.    Beginning in December 2013, when Fund 2 was formed, and
 2
     subsequently with Funds 3, 3A, and 4 (i.e., throughout the Class Period herein) the
 3

 4   amount of funds loaned to entities affiliated with Shapiro was in excess of 70%--
 5
     and as high as 98%--of Woodbridge’s overall loan portfolio. Provident apparently
 6

 7
     took no steps to verify the identity of purported third-party borrowers and failed to

 8   discover that most of the “borrowers” were shell companies controlled by Shapiro-
 9
     despite Woodbridge’s almost complete lack of any bona fide third-party borrowers
10

11   and nearly universal extension of “loans” to shell companies with no revenues and
12
     no bank accounts. Defendants also apparently failed to discover that nearly all of
13

14
     the purported third-party borrowers never paid any interest whatsoever on the so-

15   called “loans” underlying the promissory notes.
16
           90.    Defendants’ repeated representation that Woodbridge Securities
17

18   retained “fair market value” equal to the purchase price was predicated on the
19
     creditworthiness of the Woodbridge entities’ borrowers- yet Defendants apparently
20

21
     took no steps to verify the LLCs’ assets, income or ability to repay loans. The vast

22   majority of the purported third-party borrowers had no source of income, no bank
23
     accounts, and never made any loan payments to Woodbridge. In short,
24

25   Woodbridge Securities were pieces of paper representing promises to pay,
26

27

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 1   guaranteed largely by asset-free shell companies, set up and controlled by
 2
     Woodbridge’s principal, Shapiro.
 3

 4         91.    Defendants also ignored the red flag that a large proportion of
 5
     Woodbridge’s sales agents, with whom Defendants regularly interacted in
 6

 7
     transferring accounts from other IRA custodians to Provident, were not registered

 8   representatives with FINRA member firms, and therefore were not licensed to sell
 9
     securities. In fact, many of Woodbridge’s unlicensed sales agents were former
10

11   licensed FINRA registered representatives who had lost their licenses to sell
12
     securities due to misconduct- a status that was readily discoverable via a
13

14
     rudimentary Internet search of FINRA’s public database, accessible at

15   https://brokercheck.finra.org/.
16
           92.    The fact, well known to Defendants, that most of Woodbridge’s sales
17

18   agents were not licensed to sell securities, should have assumed great significance
19
     considering that Woodbridge FPCMs and Units are clearly securities within the
20

21
     definitions promulgated by the SEC and the courts. Promissory notes are

22   presumptively defined as securities, and furthermore the FPCMs clearly meet the
23
     definition of securities set forth by the U.S. Supreme Court in SEC v. W.J. Howey
24

25   Co., 328 U.S. 293, 298-99 (1946) (defining an investment contract as (1) an
26

27

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 1   investment of money, (2) in a common enterprise, (3) with the expectation of
 2
     profits produced solely by the efforts of others”).
 3

 4         93.    Defendants were also aware that Woodbridge FPCMs and Units were
 5
     not registered with the SEC or state securities regulators.
 6

 7
           94.    Thus, by being aware the Woodbridge FPCMs and Units are

 8   securities, were not registered, and were being sold by Woodbridge’s unlicensed
 9
     sales representatives, Defendants had actual knowledge that Woodbridge was
10

11   engaged in the unlawful sale of unregistered securities by unlicensed persons.
12
           95.    Even if these facts had not been readily apparent based on the nature
13

14
     of Woodbridge Securities and Woodbridge’s unlicensed sales staff, as previously

15   alleged herein (see supra, ¶¶ 52-75, 81-85), Woodbridge was the subject of
16
     numerous investigations and legal actions at both the state and federal level by
17

18   various state securities regulators, as well the SEC. All these aforementioned state
19
     and federal regulators who have reviewed the matter to date- Massachusetts,
20

21
     Texas, Arizona, Pennsylvania, Michigan and the SEC- have unanimously

22   concluded that Woodbridge engaged in the unlawful sale of unregistered securities.
23
     Furthermore, Massachusetts’ public findings concerning Woodbridge date back to
24

25   May 2015, or over two and one-half years before Woodbridge declared
26
     bankruptcy. See Exh 2.
27

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 1         96.    Despite Defendants’ gross negligence in choosing to turn a blind eye
 2
     to Woodbridge, other companies that also operate in the SDIRA arena took notice.
 3

 4   For example, in November 2017, another Woodbridge custodian, Mainstar Trust,
 5
     apprised Woodbridge investors that “From time to time, Mainstar becomes aware
 6

 7
     of publicly available information that might be of interest to certain account

 8   holders. It is our understanding that on November 1, 2017, the Securities and
 9
     Exchange Commission (SEC) released on their website, information concerning
10

11   Woodbridge assets.” Attached hereto as Exh. 7 is a redacted copy of the
12
     November 6th letter from Mainstar Trust dispatched to SDIRA owners.
13

14
           97.    Within the same letter, Mainstar reiterated its limited role as

15   custodian, and characterized that role as essentially “administrative in nature.”
16
     Nevertheless, as custodian of SDIRAs, Mainstar saw fit to notify their clients of
17

18   certain publicly available information concerning Woodbridge, namely that the
19
     SEC was investigating the company and that allegations had been raised
20

21
     suggesting that Woodbridge was a Ponzi Scheme.

22         98.    Despite the fact that Defendants had ready access to the same publicly
23
     available information as other SDIRA custodians concerning the SEC investigation
24

25   and lawsuit and Woodbridge’s bankruptcy in late 2017, Defendants nevertheless
26
     chose once again to turn a blind eye to the problem, treating Woodbridge securities
27

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 1   as retaining their full “fair market value” equal to the purchase cost as late as the
 2
     end December 2017. See Exh. 8 (redacted Noel C. Murray Provident IRA
 3

 4   statement for end of year 2018).
 5
           99.    Defendants also ignored the red flag that financial advisors who sold
 6

 7
     Woodbridge securities were, in some instances, paying IRA fees directly to

 8   Defendants, despite such payments being prohibited transactions within the
 9
     meaning of IRS Publication 590-A. See ¶¶ 33-35, supra.
10

11                              CLASS ACTION ALLEGATIONS
12
           100. Plaintiffs bring this action as a class action pursuant to Rule 23 of the
13

14
     Federal Rules of Civil Procedure (“FRCP”). The Class in this action (“Class”)

15   consists of all persons for whom Provident opened and/or maintained IRA
16
     accounts as custodian, that were invested in Woodbridge Securities (as defined
17

18   above), at any time between January 1, 2014 and December 31, 2017 inclusive (the
19
     “Class Period”). Excluded from the Class are Defendants and any person, firm,
20

21
     trust, corporation or other entity related to or affiliated with Woodbridge.

22         101. At least hundreds of persons are believed to be members of the
23
     putative Class, and those persons or entities are geographically dispersed.
24

25   Therefore, joinder is impracticable pursuant to FRCP Rule 23(a)(1).
26

27

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 1         102. Common issues of fact or law predominate over individual issues
 2
     within the meaning of FRCP Rule 23(a)(2). Common issues of law and fact
 3

 4   include but are not limited to:
 5
                  (i)     whether Defendants breached the PTG Trust Agreement by
 6

 7
                          virtue of their uniform acts and omissions alleged herein;

 8                (ii)    whether the Defendants breached their fiduciary duty to
 9
                          Plaintiffs and the Class by virtue of their uniform acts and
10

11                        omissions alleged herein;
12
                  (iii)   whether Defendants acted negligently by virtue of their
13

14
                          uniform acts and omissions alleged herein; and

15                (iv)    whether the members of the Class have sustained damages and,
16
                          if so, what is the proper measure of damages.
17

18         103. Plaintiffs’ interests are typical of, and not antagonistic to the interests
19
     of, the Class.
20

21
           104. Plaintiffs have retained competent counsel experienced with class

22   actions and complex litigation and intend to vigorously prosecute this action.
23
           105. Common issues predominate. A class action is superior to all other
24

25   methods for the fair and efficient adjudication of this controversy. Indeed, a class
26

27

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 1   action is the only method by which Plaintiffs and the Class can efficiently seek
 2
     redress and obtain a uniform adjudication of their claims.
 3

 4           106. The size of individual damages is small in comparison to the
 5
     complexity and scope of the Defendants’ alleged unlawful conduct. Plaintiffs do
 6

 7
     not anticipate any difficulties in the management of this action as a class action.

 8         AS AND FOR A FIRST CAUSE OF ACTION FOR BREACH OF
 9                             CONTRACT
                    UNDER STATE AND FEDERAL LAW
10

11         107. Plaintiffs incorporate by reference the allegations set forth above as
12
     though fully set forth herein.
13

14
           108. There is a substantial federal interest in the proper establishment and

15   administration of IRA custodial accounts and in preserving and maintaining the
16
     security of individuals’ retirement savings.
17

18         109. Defendants acknowledged the substantial federal interest in the PTG
19
     Trust Agreement by reciting that the subject SDIRAs are governed by the Internal
20

21
     Revenue Code and reciting that Articles I through VII of the PTG Trust Agreement

22   “have been approved by the IRS.” See Exh. 1 at p. 13.
23
           110. Federal law imposes the obligations on SDIRA trustees that have been
24

25   previously alleged above. See, e.g., 26 C.F.R. § 1.408-2(e). These obligations are
26
     incorporated in the PTG Trust Agreement including without limitation at Article
27

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 1   V(2) (“The custodian agrees to submit to the Internal Revenue Service (IRS) the
 2
     reports prescribed by the IRS”) and Article VIII (8.16) (“Each year (and when you
 3

 4   take IRA distributions), we are required to report the fair market value (‘FMV’) of
 5
     the assets within your IRA to the IRS. …”).
 6

 7
           111. By entering into the PTG Trust Agreement, Defendants further agreed

 8   to act as trustee and perform the fundamental common law duties of a trustee to
 9
     preserve and maintain trust assets. These duties include the duty to determine
10

11   exactly what property forms the subject-matter of the trust and to use reasonable
12
     diligence to locate and safeguard trust property.
13

14
           112. Federal law also includes the duty to avoid commingling the assets of

15   the trust with other assets. Such a duty arose here under the IRS Code § 408(a)(5)
16
     (“The assets of the trust will not be commingled with other property except in a
17

18   common trust fund or common investment fund”).
19
           113. Defendants failed to perform contractual obligations by virtue of their
20

21
     conduct and omissions herein by failing to ascertain the nature of Woodbridge

22   Securities, failing to verify, secure and safeguard the purported underlying assets
23
     of same, failing to provide accurate fair market value annual valuations of
24

25   Woodbridge Securities, causing and/or knowingly permitting Class members to
26

27

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 1   engage in prohibited transactions with disqualified persons, and otherwise as
 2
     further alleged herein.
 3

 4         114. As a direct, foreseeable and proximate result of Defendants’ breaches
 5
     of contract, Plaintiffs and the Class suffered damages.
 6

 7
          AS AND FOR A SECOND CAUSE OF ACTION FOR BREACH OF
             FIDUCIARY DUTY UNDER STATE AND FEDERAL LAW
 8

 9         115. Plaintiffs incorporate by reference the allegations set forth above as
10
     though fully set forth herein.
11
           116. As trustees of Plaintiffs’ IRA accounts, Defendants owed Plaintiffs
12

13   and the Class members a fiduciary duty under federal regulations as well as the
14
     common law. By reason of their fiduciary relationship, Defendants owed Plaintiffs
15

16   and Class members the duties of good faith, fair dealing, loyalty, due care, and
17
     candor with respect to the fulfillment of Defendants’ duties under the trust and
18
     their conduct respecting the trust res.
19

20         117. Defendants breached fiduciary duties to Plaintiffs and the Class by
21
     failing to ascertain the nature of Woodbridge Securities, failing to verify, secure
22

23   and safeguard the purported underlying assets of same, failing to provide accurate
24
     fair market value annual valuations of Woodbridge Securities, causing and/or
25
     knowingly permitting Class members to engage in prohibited transactions with
26

27   disqualified persons, and otherwise, as further alleged herein.
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 1          118. As a foreseeable result of these breaches, Woodbridge was able to
 2
     commingle and/or dissipate Class Members’ funds, and Plaintiffs and the Class
 3

 4   have suffered damages.
 5
            119. Defendants are liable for actual and punitive damages in an amount to
 6

 7
     be determined at trial attributable to the conduct of Defendants that was reckless,

 8   willful, wanton and without regard to the rights of Plaintiffs and the Class.
 9
       AS AND FOR A THIRD CAUSE OF ACTION FOR NEGLIGENCE AND
10
                          GROSS NEGLIGENCE
11
            120. Plaintiffs incorporate by reference the allegations set forth above as
12

13   though fully set forth herein.
14
            121. As alleged herein, in an extreme departure from ordinary standards of
15

16   care, Defendants negligently failed to preserve, retain control over, hold and safe-
17
     keep the trust res that each Class member entrusted to Defendants.
18
            122. The Defendants’ foregoing conduct constitutes gross negligence.
19

20          123. As a direct, proximate and foreseeable result of Defendants’ ordinary
21
     and gross negligence under the common law, Plaintiffs and each Class member
22

23   suffered damages.
24
     ///
25

26

27

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 1          AS AND FOR A FOURTH CAUSE OF ACTION FOR UNJUST
 2                   ENRICHMENT AND RESTITUTION
 3
           124. Plaintiffs incorporate by reference the allegations set forth above as
 4
     though fully set forth herein.
 5

 6         125. Defendants’ foregoing conduct and receipt of funds requires them to
 7
     make restitution and disgorge all sums by which Defendants have been unjustly
 8

 9   enriched.
10

11                                      JURY DEMAND
12
           126. Plaintiffs demand a trial by jury on all causes of action so triable.
13

14
                                      PRAYER FOR RELIEF

15    WHEREFORE, Plaintiffs pray for judgment as follows:
16
           A.     Certifying this action as a class action pursuant to Fed. R. Civ. P.
17

18                23(a) and (b)(3), and certifying Plaintiffs as class representatives and
19
                  appointing their counsel as Class Counsel;
20

21
           B.     Awarding compensatory damages against Defendants, jointly and

22                severally, including disgorgement of all unjust enrichment;
23
           C.     Awarding prejudgment interest;
24

25         D.     Awarding punitive damages as appropriate;
26

27

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 1         E.    Awarding extraordinary, equitable and/or injunctive relief as
 2
                 permitted by law (including but not limited to disgorgement);
 3

 4         F.    Awarding Plaintiffs’ the costs and expenses of this litigation,
 5
                 including reasonable attorneys’ fees, and experts’ fees and other costs
 6

 7
                 and disbursements; and

 8         G.    Granting Plaintiffs such other and further relief as to the Court may
 9
                 seem just and proper.
10

11   Dated this July 25, 2018
12
                                      /s/ Martin L. Welsh
13                                    Martin L. Welsh
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